Case 4:20-cv-01314-O0 Document1 Filed 12/09/20 Pagelof6 PagelD1

“W064 90

IN THE UNITED STATES DISTRICT COURT; 0S" 25 2) ye
FOR THE NORTHERN DISTRICT OF TEXAS

GARY RICHARDSON
DOMONIQUE RICHARDSON

CASE NO.

4-20CV1314-9

PLAINTIF®,

TARRANT COUNTY CONSTABLES
OFFICE,

DAKA INVESTMENTS, LUC
DEFENDANTS

LLC

0G OG GOR UG SG SGP UG UG 6? uD

DEFENDANT / APPELLANT GARY RICHARDSON’S EMERGENCY MOTION FOR
RESTRAINING ORDER

Movants / Plaintiffs are the subject of an eviction proceeding, with the constable standing
outside ready to evict the Movants. The Movants are entitled to protection under the CDC
guidelines, and has provided the Constable with a copy of the signed affidavit, and the Constable
is unwilling to comply with the Federal orders. The Plaintiffs / movants will suffer irreparable
harm if they are evicted at this time of Covid where the death toll is the highest ever. The
movants are high risk, and could and would DIE if they are evicted and they have no
arrangements for anywhere to go. The Movants provided a copy of the CDC form to the
Constable who contacted the Tarrant District Attorney who refuses to honor the CDC eviction
stay. This Court is the only source of relief at this point to stop the eviction and stop the death of
Movants.

Attached is the CDC Declaration and Writ of Possession.

DECLARATION OF GARY RICHARDSON IN SUPPORT OF EMERGENCY MOTION
Case 4:20-cv-01314-O Documenti- Filed 12/09/20 Page2ofé PagelD2

1. The Sheriff has notified me that I am going to be evicted today and stands ready to move
me out.

2, I provided the sheriff with a copy of the CDC affidavit which should have stopped the
eviction.

3. The Sheriff contacted the District Attorney and asked if they should honor the CDC stay.
4. I called the District Attorney and informed them I would be filing a motion in Federal
Court for a Stay, and they refused to stay the eviction. When I called to speak to the District
Attorney, the secretary refused to put me through to the attorney. I told her ] wanted to meet and

confer, and she refused to respond.

5. [ contacted Daka previously and they refused to stay the eviction.

6. If we are evicted I will suffer irreparable harm, including Death.

7. A copy of the CDC declaration is attached hereto, and it is incorporated herein as though
set forth herein in full.

8. Federal Register Notice: Temporary Halt in Residential Evictions to Prevent the Further

Spread of COVID-19, Updated Oct. 9, 2020, the CDC Director Dr. Robert Redfield signed a
declaration determining that the evictions of tenants could be detrimental to public health control
measures to slow the spread of SARS-Cov-2, the virus that causes COVID-19.

For more information on the order, please visit:

FAQs: HHS/CDC Temporary Halt in Residential Evictions to Prevent the Further Spread of
COVID-19 pdf icon[715 KB, 7 Pages]

9, https://www federalregister.zov/documents/2020/09/04/temporary-halt-in-residential-

evictions-to-prevent-the-further-spread-of-covid-19external icon

10. The movants are high risk and will die if exposed to covid or evicted.
Case 4:20-cv-01314-O Document1i- Filed 12/09/20 Page3of6 PagelD3

I request that this court order the Sheriff to honor the CDC forms and set a hearing if necessary

after January when the CDC stay is lifted before any eviction can be carried out.

Witness our hands, this G

DECEMBER 9TH, 2020

DECEMBER 9TH, 2020

day of Dee 20 90

fe
GARY Son sl

7302 PALEON

ARLINGTON, TEXAS 76002

TEL: 817 368-1511

EMAIL: GDK.RICHARDSQN@YAHOO.COM

i deb
7302 PALEON

ARLINGTON, TEXAS 76002
TEL: 817 368-1511
EMAIL: GDK.RICHARDSON@YAHOO.COM

After considering this Notice of Appeal, the court finds and hereby orders that the same be

GRANTED/DENIED.

Signed this day of

20
Case 4:20-cv-01314-O Documenti _ Filed 12/09/20 Page4of6 PagelD4

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

GARY RICHARDSON
DOMONIQUE RICHARDSON

CASE NO.

PLAINTIFF,

TARRANT COUNTY SHERIFFS
OFFICE,

DAKA INVESTMENTS, LLC
DEFENDANTS

LLC

62 9GD 0G 02 GG> 90> GG U2 6G GO

ORDER GRANTING DEFENDANT / APPELLANT GARY RICHARDSON’S
EMERGENCY MOTION FOR RESTRAINING ORDER (proposed)

The court, having considered the Plaintiff / movants motion for an order staying the eviction due
to the CDC stay, and good cause having been shown, the court hereby grants the emergency
relief and orders the Sheriff of Tarrant County to stay any further eviction proceedings agaist
the Movants until the CDC lifts their stay or until further order of this court.

Other orders

Further the court sayeth naught.
Dated

Signed

31
J8 44 (Rev. 10/20) - TXND (Rev. 10/20) CIVIL COVER SHEET
The 38 44 civil coverGhaS@d4iwintothatiohlodalAhel herein ameliep eda hot supplenitaGhel ihe MAOQvice of PRAR groin papel aGAledBy law, except as

provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet, (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. @) PLAINTIFFS DEFENDANTS
GARY RICHARDSON, DOMONIQUE RICHARDSON

(b) County of Residence of First Listed Plaintiff TARRANT County of Residence of First Listed Defendant
(EXCEPT IN U8. PLAINTIFF CASES) (IN US. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firnt Name, Address, and Telephone Number) Attomeys (If Known)

Gary and Domonique Richardson, 7302 Paleon,
Arlington, Texas, 76002, 817 368-1511,

IL, BASIS OF JURISDICTION (Place an “X" in One Box Only) il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
{For Diversity Cases Oniy) and One Box for Defendant)
[Jt U.S. Government [X]3 Federal Question PTF DEF PTE DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State fx}1  [_] 1 Incorporated or Principal Place []4 (4
of Business In This State
("]2 U.S. Government f ]4 Diversity Citizen of Another State (12 [[] 2 Incorporated and Principat Place [] 5 [U]s5
Defendant (indicate Citizenship of Parties in Item HI} of Business In Another State
Citizen or Subject of a £33 [] 3. Foreign Nation [leé (le
Foreign Country
IV. NATURE OF SUIT (iace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions
ONTRAG! TORT TFORKEITURE/PENALTY BANKRUP THER STATE
E10 Insurance PERSONAL INJURY PERSONAL INJURY [_]625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
£20 Marine 310 Airplane (_] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
E30 Miller Act 315 Airplane Product Product Liability "1690 Other 28 USC 157 3729{(a))
140 Negotiable Instrument Liability [] 367 Health Caref | 400 State Reapportionment
[""] £50 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical == PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Empioyers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability [] 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability [_] 840 Trademark Corrupt Organizations
[_] £53 Recovery of Overpayment Liability PERSONAL PROPERTY [:: = LABOR | | 880 Defend Trade Secrets [7] 480 Consumer Credit
_. __ of Veteran’s Benefits 350 Metor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692}
|_| 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act |] 485 Telephone Consumer
[_] 198 Other Contract Product Liability [_] 380 Other Personal | 720 Labor/Management CIAL SECURITY. Protection Act
[| 195 Contract Product Liability 360 Other Personal Property Damage Relations 865 HIA (1395 490 Cable/Sat TY
| 196 Franchise Injury [_] 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commoadities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWCHDIWW (405(g)) Exchange
Medical Maipractice Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
= REAL PROPERG "CIVIL RIGHT, PRISONER PETITIONS. | _|790 Other Labor Litigation [] 86% RSI (405(g)) | 891 Agricultural Acts
|__| 219 Land Condemnation 440 Other Civil Rights Habeas Corpus: | 791 Employee Retirement 893 Environmental Matters
|_| 226 Foreclosure 441 Voting | 463 Alien Detainee Income Security Act ER Lx SUITES |_| 895 Freedom of Information
L_| 230 Rent Lease & Bjectment 442 Employment | 510 Motions to Vacate [|] 870 Taxes (U.S. Plaintiff Act
246 Torts to Land 443 Housing! Sentence or Defendant) 896 Arbitration
| 245 Tort Product Liability Accommodations f ] 530 General |] 87§ IRS—Third Party | 899 Administrative Procedure
1x] 290 All Other Real Property 7] 445 Amer. w/Disabilities -f | 535 Death Penalty 2 IMMIGRATION. : 26 USC 7609 Act/Review or Appeal of
Employmest |_. Other: 462 Naturalization Application Agency Decision
|_| 446 Amer. w/Disabilities -F | 540 Mandamus & Other 465 Other Immigration |_| 950 Constitutionality of
Other |_| 550 Civil Rights Actions State Statutes
[| 448 Education |_| 555 Prison Condition
|_| 560 Civik Detainee -
Conditions of
Confinement
V. ORIGIN (Piece an "x" in One Box Only)
1 Original []2 Removed from 3 Remanded from OC 4 Reinstated or Cy 5 Transferred from 6 Multidistrict 8 Muiltidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes ules diversity):
HHS/CDC Temporary Halt in Residential Evictions to Prevent the Further Spread of COVID-19

Brief description of cause:

emergency motion to stay eviction due to cde stay fo avoid death of movants who are high risk,

VI. CAUSE OF ACTION

VIL REQUESTEDIN = [_] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK, YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: []Y¥es [}No
VIH, RELATED CASE(S) sees
IF ANY {See tistructions): JUDGE DOCKET BER
DATE , S)GNATURE OF ATTO! v coRD , !
/ aL OF9/2OIO herr airoh dD oraprlonvto Rebancleor
FOR OFFICE USE ONLY Cc/ U

RECERPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

JS 44 Reverse (Rev. 10/20) - TXND (10/20)

ENSTRECTIONS FOR S1rORNEVS COMPLETING CIVIL COVER SHERT FORMPIS 4

Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet, Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

L(a)  Plaintiffs-Defendants. Enter names (last, first, middle initia!) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
the official, giving both name and title.

(b) County of Residence, For cach civil case filed, except U.S. plaintiff cases, enter the name of the county where the first sted plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

(c) Attorneys, Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)",

iL. Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R-Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box 1 or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section I below; NOTE: federal question actions take precedence over diversity
cases.)

HI. Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

IV. Nature of Suit, Place an "X" in the appropriate box. If there are multiple nature of suit codes asseciated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suii Code Descriptions.

V. Origin, Place an "X" in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court, Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a), Do not use this for within district transfers or
multidistrict litigation transfers.
Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407,
Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket. PLEASE
NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in
statute.

VI. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity, Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VU. Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cy.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related cases, if any. If a related case exists, whether pending or closed, insert the
docket numbers and the corresponding judge names for such cases. A case is related to this filing if the case: 1) involves some or all of the same
parties and is based on the same or similar claim; 2) involves the same property, transaction, or event; 3) involves substantially similar issues of law
and fact; and/or 4) involves the same estate in a bankruptcy appeal.

Date and Attorney Signature, Date and sign the civil cover sheet.
